Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 1 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 2 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 3 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 4 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 5 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 6 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 7 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 8 of 42
Case 20-14201-pmm   Doc 100     Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                              Document      Page 9 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 10 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 11 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 12 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 13 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 14 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 15 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 16 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 17 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 18 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 19 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 20 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 21 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 22 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 23 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 24 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 25 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 26 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 27 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 28 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 29 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 30 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 31 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 32 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 33 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 34 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 35 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 36 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 37 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 38 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 39 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 40 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 41 of 42
Case 20-14201-pmm   Doc 100 Filed 06/29/21 Entered 06/29/21 13:56:27   Desc Main
                           Document    Page 42 of 42
